            Case 1:22-cv-00424-RP Document 65 Filed 08/10/22 Page 1 of 2




                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                     AUSTIN DIVISION

 LEILA GREEN LITTLE, ET AL.,                           §
                PlaintiffS,                            §
 v.                                                    §
                                                       §          No. 1:22-CV-424-RP
 LLANO COUNTY, ET AL.,                                 §
                Defendants.                            §
                                                       §

                                                   ORDER

        Before the court is the parties’ Joint Notice, filed August 9, 2022. Dkt. #64. The Joint

Notice was submitted in compliance with the court’s previous order setting an August 10, 2022

hearing on issues related to Plaintiff’s Motion to Compel (Dkt. #57). 1

        The parties have met and reached agreement on each of the disputed discovery matters as

described in the Joint Notice. The court wants to commend the parties for doing so and thank the

parties for their willingness to compromise.

        For the reasons described in the Joint Notice, Plaintiff’s Motion to Compel (Dkt. #57) has

been rendered MOOT.

        IT IS FURTHER ORDERED that the hearing previously set for August 10, 2022 at 2:00

p.m. is CANCELED.



          SIGNED August 10, 2022.
                                                               _______________________________
                                                               MARK LANE
                                                               UNITED STATES MAGISTRATE JUDGE




    1
     The motion was referred by United States District Judge Robert Pitman to the undersigned for resolution as to
the merits pursuant to 28 U.S.C. § 636(b)(1)(A), Rule 72 of the Federal Rules of Civil Procedure, and Rule 1(c) of
Appendix C of the Local Rules of the United States District Court for the Western District of Texas.

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Case 1:22-cv-00424-RP Document 65 Filed 08/10/22 Page 2 of 2




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